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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
                                                       :
UNITED STATES OF AMERICA                               :
                                                       :            19-CR-374 (JMF)
         -v-                                           :
                                                       :                ORDER
MICHAEL AVENATTI,                                      :
                                                       :
                                    Defendant.         :
                                                       :
-------------------------------------------------------x

JESSE M. FURMAN, United States District Judge:

       It is hereby ORDERED that the final pretrial conference, which will be held on January
18, 2022, at 11:15 a.m. and trial, which will begin January 24, 2022, at 9:30 a.m., will be held
in Courtroom 26B of the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,
New York, NY.

        SO ORDERED.

Dated: January 13, 2022                                    _________________________________
       New York, New York                                         JESSE M. FURMAN
                                                                United States District Judge
